83 F.3d 416
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff-Appellee,v.Anthony Theodore FONVILLE, Defendant-Appellant.
    No. 95-7532.
    United States Court of Appeals, Fourth Circuit.
    Submitted April 15, 1996.Decided April 23, 1996.
    
      Anthony Theodore Fonville, Appellant Pro Se.  Robert Daniel Boyce, Raleigh, North Carolina, for Appellee.
      Before ERVIN and MOTZ, Circuit Judges, and CHAPMAN, Senior Circuit Judge.
      Affirmed by unpublished per curiam opinion.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying his 28 U.S.C. § 2255 (1988) motion.   We have reviewed the record and the district court's opinion and find no reversible error.   Accordingly, we affirm on the reasoning of the district court.   United States v. Fonville, Nos.  CR-92-7-F;  CA-95-96-7-F (E.D.N.C. July 28, 1995).   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    AFFIRMED
    